    CASE 0:10-cr-00009-MJD-DTS   Doc. 341   Filed 01/05/11   Page 1 of 1



                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                    Criminal No. 10-9(1)(MJD/SRN)

UNITED STATES OF AMERICA,        )
                                 )
                Plaintiff,       )    ORDER SEALING DOCUMENT
                                 )
           v.                    )
                                 )
KOU LEE,                         )
                                 )
                Defendant.       )


     This matter comes before the Court on the Government=s Motion

To Seal Document.   Based upon all the records and proceedings herein,

     IT IS HEREBY ORDERED, that the Government=s Motion for Sealing

is granted.

Dated:   January 5, 2011

                                 s/ Michael J. Davis
                                 The Honorable Michael J. Davis
                                 Chief U.S. District Court Judge
